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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
                    MINUTES OF PROCEEDINGS

JUDGE WILLIAM J. MARTINI                            DATE: 6/7/22

Court Reporter: Joanne Sekella

Court Clerk: Gail Hansen

Other:

TITLE OF CASE:                                 2:19-763-01

United States
v. Alfuquan Turner

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Appearances:

AUSA Shontae Gray & Sophie Reiter
AFPD Peter Carter and Sam Viggiano for the Defendant
Defendant Present

NATURE OF PROCEEDINGS: JURY TRIAL

Out of the presence of the jury at 8:45 a.m.
CHARGE CONFERENCE
Hearing on Defendants Rule 29 Motion – Decision Reserved
Jury present 9:00 a.m.
Juror #12 excused; replaced by Alternate #1
Gov’t rests
Michael Gilmore affirmed for the defense
Martin de Bourmont sworn for the defense
Alfuquan Turner sworn for the defense
Defendant rests, all sides rest.
AUSA Sophie Reiter - closing statement for the gov’t
AFPD Peter Carter – closing statement for the defense
AUSA Shontae Gray – rebuttal for the gov’t
(Recess: 12:00 p.m. – 1:00 p.m._
CHARGE TO THE JURY
Ordered bailiff sworn – Thomas Kane sworn
Jury commenced deliberations at 1:45 p.m.
Jury reached verdict at 3:10 p.m.
VERDICT: GUILTY TO COUNT ONE
Ordered jury polled and all agree with the verdict as rendered
by their foreperson.
Jury and 1 Alternate excused
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Sentencing set for 10/25/22 at 10:00 a.m.
Ordered defendant remanded.
Jury trial concluded at 3:45 p.m.


                                  Gail A. Hansen, Deputy

Time Commenced: 8:45 a.m.
Time Concluded: 3:45 p.m.
Total Time: 6 hours
